                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
United States of America,                       )
                                   Plaintiff,   )
vs.                                             ) Case No. 04-00244-06-CR-W-FJG
Enrique Cazarez,                                )
                                   Defendant.   )

                                         ORDER
       Pending before the Court is defendant’s motion to dismiss for pre-indictment delay
(Doc. #415), filed February 1, 2005, and the government’s response (Doc. #416), filed
February 1, 2005.
       On September 27, 2005, Chief Magistrate John T. Maughmer entered a report and
recommendation (Doc. #660) which recommended denying the above-mentioned motion.
Defendant’s objections to the Chief Magistrate’s report and recommendation were filed on
October 12, 2005 (Doc. #678).
       The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that defendant’s motion to dismiss for pre-indictment delay (Doc. #415), filed
February 1, 2005, must be denied.
       Accordingly, it is
       ORDERED that the chief magistrate’s findings and conclusions are hereby adopted
and incorporated herein by reference. It is further
       ORDERED that defendant’s motion to dismiss for pre-indictment delay (Doc. #415),
is denied.


                                                 /s/Fernando J. Gaitan, Jr.
                                                 Judge Fernando J. Gaitan, Jr.
                                                 United States District Judge
Dated: October 17, 2005
Kansas City, Missouri




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